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Case 1:04-cr-10072-.]DT Document 52 Filed 05/18/05 Page 1 of 6 Pag§lD 3 499

UN|TED STATES D|STR|CT COURT `5`/5;7 \3 g
WESTERN DiSTRlCT OF TENNESSEE ’L/ `

 

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501 , J. '
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-v- 04-10072-01-T "-:<:’3;-3 /;:-:'
l_,/Pf/
GERALo cARTER

Diane Smothers FPD

Defense Attorney

109 South High|and Avenue, Ste B-8
Jackson, TN 38301

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty as to the One (1) Count indictment on February18, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Title & section laws QQDM M_r(§l
21 U.S.C. § 841 (a)(1) Possession with intent to Distribute 02/27/2004 1

37.1 Grams of Cocaine Base

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the lV|andatory
Victims Restitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence. or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 01/28/1971 May 17, 2005
Deft’s U.S. Nlarsha| No.: 19900-076

Defendant’s Nlaiiing Address:

826 Camden Street
Jackson, TN 38301

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CH|E N|TED STATES D|STR|CT JUDGE

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Case 1:04-cr-10072-.]DT Document 52 Filed 05/18/05 Page 2 of 6 PagelD 35

Case No: 1:04cr10072-01-T Defendant Name: Gerald Carter Page 2 of 5
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 240 Months as to the One (1) Count indictment

The Court recommends to the Bureau of Prisons: institution where defendant can
participate in a drug treatment program.

The defendant is remanded to the custody of the United States Marsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. Marshal

Case 1:04-cr-10072-.]DT Document 52 Filed 05/18/05 Page 3 of 6 PagelD 36

Case No: 1:04cr10072-01-T Defendant Name: Gerald Carter Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 8 years as to the One (1) Count indictment

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised releasel the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunitionl or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling. training. or other acceptable reasons;

5. The defendant shaft notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchasel possess, use,

distribute, or administer any narcotic or other controlled substance. or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance:

7. The defendant shall not frequent places where controlled substances are illegally sold. used,
distributed, or administered;

Case 1:04-cr-10072-.]DT Document 52 Filed 05/18/05 Page 4 of 6 PagelD 37

Case No: 1:04cr10072-01-T Defendant Name: Gerald Carter _ Page 4 of 5

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofhcer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation ocher to make such notitications and to confirm the defendant's compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERViSED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program of testing and treatment for drug
and alcohol abuse as directed by the probation officer until such time as the defendant is
released from the program by the probation officer.

2. The defendant shall cooperate with the United States Probation thce in the collection of
DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shai| paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
5100.00

Case 1:04-cr-10072-.]DT Document 52 Filed 05/18/05 Page 5 of 6 PagelD 38

Case No: 1:04cr10072-01-T Defendant Name: Gerald Carter Page 5 of 5

The Speciai Assessment shall be due immediately
F|NE
No fine imposed.

RESTfTUTION

No Restitution was ordered.

DISTRIC COURT -WESERNT DTRIC OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 1:04-CR-10072 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

Angela R. Scott

State Attorney General's Oftice
P.O. Box 2825

Jackson7 TN 38302

Honorable .i ames Todd
US DISTRICT COURT

